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                  ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

 THE ETHYLENE OXIDE
 STERILIZATION ASSOCIATION,
 INC.

       Petitioner,                                No. 24-1180
                                                  (and consolidated cases)
             v.

 U.S. ENVIRONMENTAL
 PROTECTION AGENCY, ET AL.,

       Respondents.

REPLY IN SUPPORT OF THE AMERICAN PETROLEUM INSTITUTE’S
     MOTION FOR LEAVE TO INTERVENE AS PETITIONER

      The U.S. Environmental Protection Agency (“Respondent”) asserts that the

American Petroleum Institute’s (“Movant-Intervenor”) motion to intervene in

support of the Ethylene Oxide Sterilization Association, Inc. (“Petitioner”) should

be denied for two primary reasons. But as detailed below, both arguments are

misplaced.

I.    The U.S. Supreme Court has determined that intervenors do not always
      need to demonstrate standing in their own right.

      Respondent’s first argument against the motion to intervene is that Movant-

Intervenor has not demonstrated standing in its own right. Doc. No. 2064477

(“Opposition”) at 3. Respondent cites two cases in which this Court has held that
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intervenors always must have standing in their own right – Defs. of Wildlife v.

Perciasepe, 714 F.3d 1317, 1323 (D.C. Cir. 2013) (“Defs. Of Wildlife”)(“[A] party

seeking to intervene as of right [must] demonstrate Article III standing.”) and Old

Dominion Elec. Coop. v. FERC, 892 F.3d 1223, 1232 (D.C. Cir. 2018)(“Old

Dominion”)(“Intervenors become full-blown parties to litigation, and so all would-

be intervenors must demonstrate Article III standing.”). Id. That requirement was

first established by this Court in Southern Leadership Conference v. Kelley, 747 F.

2d 777 (D.C. Cir. 1984). See City of Cleveland, Ohio v. NRC, 17 F. 3d 1515, 1517

(“Kelley establishes that a movant for leave to intervene under Rule 24(a)(2) must

have Article III standing to participate in proceedings before the district court.”).

      This Court has expressed misgivings about its view that intervenors always

must demonstrate standing in their own right. For example, “requiring standing for

an applicant wishing to come in on the side of a plaintiff who has standing runs

into the doctrine that Article III is satisfied so long as one party has standing.”

Roeder v. Islamic Republic of Iran, 333 F. 3d 228, 233 (D.C. Cir. 2003). See also

Jones v. Prince George’s County, Maryland, 348 F. 3d 1014, 1018 (D.C. Cir.

2003)(“To be sure, we have noted that requiring prospective intervenors to

establish Article III standing gives rise to several thorny issues — the most

relevant for our purposes being the tension between requiring standing of




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prospective plaintiff-intervenors while at the same time finding Article III satisfied

when only one party has standing.”).

      Those misgivings are well placed. It is beyond dispute that the standing of

one party can be “sufficient to confer standing under … Article III” to similarly

situated parties. Bowsher v. Synar, 478 U.S. 714, 721 (1986). That remains true

when an intervenor seeks to piggyback on the standing of a primary party to the

case. McConnell v. Federal Election Comm’n, 540 U.S. 93, 233 (2003).

      But “standing is not dispensed in gross.” Town of Chester, NY v. Laroe

Estates, 581 U.S. 433, __, 137 S. Ct. 1645, 1651 (2017)(“Town of

Chester”)(cleaned up). “[A]t the least, a plaintiff must demonstrate standing for

each claim he seeks to press and for each form of relief that is sought.” Id. “The

same principle applies to intervenors of right.” Id. In the end, “[f]or all relief

sought, there must be a litigant with standing” and, thus, “an intervenor of right

must demonstrate Article III standing when it seeks additional relief beyond that

which the plaintiff requests.” Id. In other words, an intervenor does not need to

demonstrate standing in its own right when it presses the same claim and seeks the

same relief as another party that has standing.

      In a footnote in Old Dominion, this Court concluded without analysis that

the U.S. Supreme Court’s decision in Town of Chester “had no occasion to

consider whether all intervenors must” demonstrate Article III standing and, thus,

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“does not cast doubt upon, let alone eviscerate, our settled precedent that all

intervenors must demonstrate Article III standing.” Old Dominion at 1232 n. 2.

But that conclusory assertion does not explain where the Court found room for the

D.C. Circuit to continue to demand that intervenors always must demonstrate

standing in their own right when the U.S. Supreme Court unambiguously embraced

a different view in Town of Chester.

      To sum up, the U.S. Supreme Court has held that for a given claim and

corresponding form of relief, the standing of one party is sufficient to confer

standing on other parties asserting the same claim and seeking the same relief –

including intervenors. This Court’s view that intervenors always must demonstrate

standing in their own right must be squared with that clear rule of law. Dellums v.

U.S. Nuclear Regulatory Com’n, 863 F. 2d 968, 987 n. 11 (D.C. Cir. 1988)(“[I]t is

black letter law that a circuit precedent eviscerated by subsequent Supreme Court

cases is no longer binding on a court of appeals.”).

      Here, Respondent does not question the standing of Petitioner, the Ethylene

Oxide Sterilization Association, Inc. And Petitioner has indicated its intention to

litigate the same issue as Movant-Intervenor intends to challenge – the U.S.

Environmental Protection Agency’s unlawful claim of discretionary authority to

conduct a second risk review for the ethylene oxide commercial sterilizer source

category. Moreover, Petitioner and Movant-Intervenor seek the same relief –

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reversal of the U.S. Environmental Protection Agency’s unlawful action.

Consequently, Petitioner’s standing is sufficient to confer standing to Movant-

Intervenor.

II.   Petitioner does not adequately represent Movant-Intervenor’s Interests

      Respondent also argues that intervention should be denied because “the

intervening party only seeks to raise an issue already raised by another party.”

Opposition at 7. According to Respondent, “[b]ecause Petitioner Sterilization

Association plans to raise the same statutory interpretation issue that the Petroleum

Institute identifies as the sole basis for its intervention, the Petroleum Institute’s

asserted interests in this litigation are adequately represented.” Id. at 8.

      Respondent’s argument is misplaced for two reasons. First, the authority

cited by Respondent is inapposite. In BCP Trading & Invs., LLC v. Comm’r of

Internal Revenue, 991 F.3d 1253 (D.C. Cir. 2021), intervention was denied by the

lower court because the movant-intervenor incorporated by reference the

arguments of another party and, thus, “was adequately represented on the issue”

because she “offered no additional argument.” Id. at 1273. Denial of intervention

was upheld because the lower court “did not abuse its discretion in denyng [] the

motion to intervene.” Id. That holding did not turn on the fact that the movant-

intervenor sought to litigate the same “issue” as the principal party. Instead, the




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holding was based on the conclusion that the movant-intervenor offered no

arguments beyond those presented by the principal party.

      Similarly, in United States v. All Assets Held at Credit Suisse (Guernsey)

Ltd., 45 F.4th 426 (D.C. Cir. 2022), the movant-intervenor sought “to raise

precisely the same arguments as” the principal party. Id. at 432. Intervention was

denied because “[a] would-be intervenor is adequately represented when she offers

no argument not also pressed by an existing party.” Id. (cleaned up). As in BCP

Trading¸ the holding turned on the arguments presented and not on the mere fact

that the movant-intervenor sought to litigate the same issue as a principal party.

      Here, Movant-Intervenor intends to raise the same “issue” as Petitioner –

i.e., whether EPA has discretionary authority to conduct a second risk review. But

Movant-Intervenor does not seek merely to duplicate the arguments that might be

made by Petitioner. Movant-Intervenor’s interest is in presenting a broader range

of arguments than Petitioner necessarily will make on the issue. As explained in

the Motion to Intervene, Petitioner and its members likely will calibrate their

litigation strategy to accommodate disparate interests that are not shared by

Movant-Intervenor. Doc. No. 2063232 (“Motion”) at 10-11. Movant-Intervenor

does not need to make such an accommodation. Thus, Petitioner will not

necessarily adequately represent Movant-Intervenor’s interests.




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      Second, Respondent accuses Movant-Intervenor of asserting the “unfounded

speculation” that Petitioner will not necessarily assert the full range of legal

arguments as Movant-Intervenor might make. Opposition at 7. Yet Movant-

Intervenor put forward material facts in support of its contention that were not

acknowledged or rebutted by Respondent. Most importantly, Movant-Intervenor

cited to evidence that the ethylene oxide sterilization industry faces enormous

potential liability in private tort cases alleging harm to health and the environment

due to hazardous air pollutant emissions from sterilization facilities. Motion at 11.

      It does not require a great leap of faith to conclude that Petitioner sees value

in an EPA rule that purports to provide an ample margin of safety against

hazardous air emissions from sterilization facilities and may shape its arguments

against the risk-based elements of the rule in a way that accomplishes its regulatory

objectives without necessarily completely undermining those elements. Thus,

Movant-Intervenors unrebutted evidence supports a conclusion that Petitioners will

not necessarily make the full range of legal arguments that Movant-Intervenor is

prepared to make and, therefore, will not necessarily adequately represent Movant-

Intervenor’s interests.

                                   CONCLUSION
      Movant-Intervenor API respectfully requests leave to intervene as petitioner

in Case No. 24-1180.


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Respectfully submitted,
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Dated: July 20, 2024




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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(f) and (g), I hereby

certify that the foregoing reply complies with the type volume limitation of Federal

Rule of Appellate Procedure (d)(2)(A) because it contains 1441 words, excluding

exempted portions, according to the count of Microsoft Word.

      I further certify that the motion complies with Federal Rules of Appellate

Procedure 27(d)(1)(E), 32(a)(5), and 32(a)(6) because it has been prepared in 14-

point Times New Roman type.

                                             Respectfully submitted,

                                             /s/ William L. Wehrum
                                             William L. Wehrum


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                          CERTIFICATE OF SERVICE

      Pursuant to Rule 25 of the Federal Rules of Appellate Procedure and Circuit

Rule 25(c), I hereby certify that, on this 20th day of July, 2024, I caused the

foregoing response to be electronically filed with the Clerk of the Court by using

the court’s CM/ECF system. All registered counsel will be served by the Court’s

CM/ECF system.



                                               /s/ William L. Wehrum
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